                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

John Doe
                                                    Plaintiff,
v.                                                               Case No.:
                                                                 3:23−cv−00736

Metropolitan Government of Nashville and
Davidson County
                                                    Defendant,

                               ENTRY OF JUDGMENT

        Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 4/8/2024 re [41].


                                                                           Lynda M. Hill
                                                        s/ Aubrey L Frantz, Deputy Clerk




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